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 1                                                         The Honorable John C. Coughenour

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 7
                               UNITED STATES DISTRICT COURT
 8                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 9

10   UNITED STATES OF AMERICA,                        NO. CR20-092 JCC

11                                 Plaintiff,
                                                      NOTICE OF UNAVAILABILITY
12        v.

13   JOSE ELIAS BARBOSA (aka PRIMO,
     aka PRIETO),
14
                                   Defendant.
15

16

17             PLEASE TAKE NOTICE that Michele Shaw, counsel for defendant Jose Elias

18   Barbosa, will be unavailable from December 22, 2021, through December 27, 2021.

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20   \

21   \

22   \

23   \
                                                                       MICHELE SHAW, P.S.
         NOTICE OF UNAVAILABILITY - 1                                          Attorney at Law
                                                                             2125 Western Ave #330
                                                                               Seattle, WA 98121
                                                                               Bus (206) 448-9612
                                                                               Fax (206) 319-5473
                                                                          michele@micheleshawlaw.com
           Case 2:20-cr-00092-JCC Document 578 Filed 10/18/21 Page 2 of 2



 1           Counsel respectfully requests that this Court make note of the above-mentioned dates of

 2   unavailability for purposes of scheduling as set by this Court.

 3

 4           DATED this 15h day of October 2021.

 5                                                           Respectfully Submitted,

 6                                                             s/ Michele Shaw
                                                             MICHELE SHAW, WSBA #19561
 7                                                           Michele Shaw P.S.
                                                             2125 Western Ave., #330
 8                                                           Seattle, WA 98121
                                                             Telephone: (206) 448-9612
 9                                                           Fax: (206) 319-5473
                                                             Email: michele@micheleshawlaw.com
10

11
                                       CERTIFICATE OF SERVICE
12
             I HEREBY CERTIFY that on this day, I electronically filed the foregoing pleading
13
     with the Clerk of the Court using the CM/ECF system which will send electronic notification
14
     of the filing to the attorneys of record for each of the parties.
15
             DATED this 15th day of October 2021.
16

17                                                             s/ Kristen C Miller
                                                             Kristen C Miller, Paralegal
18                                                           Michele Shaw P.S.
                                                             2125 Western Ave., #330
19                                                           Seattle, WA 98121
                                                             Phone: (206) 448-9612
20                                                           Facsimile: (206) 319-5473
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22

23
                                                                              MICHELE SHAW, P.S.
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